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           14                      UNITED STATES DISTRICT COURT
           15            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  APPLE’S OPPOSITION TO
           18      a Delaware corporation,                       PLAINTIFFS’ OBJECTIONS TO
                                                                 SPECIAL MASTER ORDER DATED
           19                         Plaintiffs,                OCTOBER 24, 2022
           20            v.
                                                                 Date: Dec. 5, 2022
           21      APPLE INC.,                                   Time: 1:30 p.m.
                   a California corporation,                     Expert Discovery Cut-Off: Dec. 12, 2022
           22                                                    Pre-Trial Conference: Mar. 13, 2023
                                      Defendant.
           23                                                    Trial: Mar. 27, 2023
           24
                                          REDACTED VERSION OF
           25                    DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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             1                                        I.     INTRODUCTION
             2           This Court should reject Plaintiffs’ last-ditch effort to avoid producing three
             3     internal presentations by relying on evidence and arguments not presented to the
             4     Special Master.
             5           Four months ago, Plaintiffs attempted to claw-back three internal presentations
             6     and an email that Apple had relied upon in its responses to Plaintiffs’ interrogatories.
             7     Although Plaintiffs have conceded that not one of the documents bear any indicia of
             8     attorney-client privilege (e.g.,
             9                , Ex. 8 at 10-11, they contended that the documents were privileged because
           10      they sought or reflected the advice of counsel, Ex. A-5 at 2. Plaintiffs’ briefing in front
           11      of the Special Master provided no details or evidence to support this broad assertion.
           12      Even now, Plaintiffs do not appear to contest that the Special Master’s ruling was
           13      correct based on the record in front of him at the time of the hearing.
           14            Having failed to convince the Special Master with one approach, Plaintiffs now
           15      switch to another—i.e., submitting two new declarations and presenting new legal
           16      arguments not preserved below. This Court should take Plaintiffs’ new approach for
           17      what it is: unjustifiable sandbagging. Even to the extent this Court considers
           18      Plaintiffs’ new points, however, Plaintiffs still have not met their burden to establish
           19      privilege. That the underlying presentations happen to involve
           20                                                                                does not rebut
           21      the Special Master’s finding that the documents could well have sought
           22
           23                                          II.   BACKGROUND
           24            A.      Plaintiffs Claw Back Four Documents With No Indicia Of Privilege
           25                    Three Weeks After Apple Relies Upon Them
           26            In May 2022, Plaintiffs served Interrogatory No. 35, which requested Apple
           27      provide the basis for its contention that “Plaintiffs[’] products were copied from or
           28
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             1     otherwise derived from Apple’s products.” Ex. A-4 at 2. Apple’s June 15, 2022
             2     response cited, among other things, three of Plaintiffs’ internal presentations and an
             3     email                       . Id. Pursuant to Paragraph 15(c) of the Protective Order,
             4     Apple retained a description of each document identifying the Bates number,
             5     production date, and pertinent identifying information:
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                            Twenty days after being served with Apple’s response, Plaintiffs sent a letter to
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                   Apple stating that they were clawing back twelve documents produced by Plaintiffs in
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                   this action, including four upon which Apple had relied. Ex. 2. Plaintiffs subsequently
           20
                   produced a privilege log that claimed attorney-client privilege for the email and the
           21
                   three presentations (all of which had been produced months earlier). See Ex. 7 at Row
           22
                   Nos. 21346, 21348, 213450, 21351.1 For the
           23
           24
           25
           26      1
                    While the full privilege log was presented to the Special Master as Exhibit 6, the
           27      version of Exhibit 6 Plaintiffs filed with their objections is missing one of its two
                   pages. Apple accordingly reproduces the full original exhibit as Exhibit 7.
           28
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           11            B.     Proceedings In Front Of The Special Master
           12                   1.     Apple Moves To Compel Production Of The Clawed Back
           13                          Documents, And Plaintiffs Do Not Present Any Evidentiary Support
           14                          For Their Privilege Claims
           15            On August 17, 2022, Apple moved to compel Plaintiffs to produce the
           16      presentations and email
           17
           18                                   Ex. A-4 at 1. However, “[t]o the extent the Special
           19      Master needs additional information about the documents at issue,” Apple requested
           20      that the Special Master conduct an in camera review. Id. at 4.
           21            Plaintiffs’ opposition quoted their privilege log’s description of the three
           22      presentations and the email but provided no other explanation or evidence to support
           23      their privilege claim. Ex. A-5 at 2. In particular, although Plaintiffs
           24
           25                         , see Ex. A-7, Plaintiffs failed to offer a declaration in support of
           26      their assertion of privilege. Nor did Plaintiffs request the opportunity to provide
           27      further briefing or a declaration if the Special Master decided in camera review was
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             1     not warranted. Instead, Plaintiffs took essentially the opposite position, namely, that
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             4                                  Ex. A-5 at 5.
             5           Apple’s reply brief highlighted Plaintiffs’ failure to provide evidentiary support
             6     for their privilege assertions. Ex. A-6 at 3. Specifically, Apple noted that
             7
             8                                                                   Id.
             9                  2. The Special Master Hears Oral Argument On Apple’s Motion And
           10                       Plaintiffs Again Do Not Provide Any Evidentiary Support For Their
           11                      Privilege Claims
           12            a.     The Special Master held a hearing on Apple’s motion (and several other
           13      pending motions) on October 3, 2022. Because Apple inadvertently failed to arrange
           14      for a court reporter, the portion of the hearing related to the clawed-back documents
           15      was not contemporaneously transcribed. See Ex. A-3 at 4. However, as Judge
           16      Guilford stated at the conclusion of the hearing, “the hearing was recorded through our
           17      Zoom process,” id., meaning that either side could have asked for a copy of the
           18      recording and arranged for a transcript. While Apple “d[id] not object” when Plaintiffs
           19      indicated that they did not intend to file a transcript in conjunction with their
           20      objections, see Ex. A-8 at 63, Apple certainly did not agree that Plaintiffs could instead
           21      substitute a self-serving declaration in its place, see Mot. 1 n.1, see generally
           22      Katzenellenbogen Decl. ISO Special Master Order (“Katz. Decl.”). Now that
           23      Plaintiffs’ objections have put the substance of the hearing at issue, see, e.g., Mot. 1-2,
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             1      7-8, Apple has arranged for a full transcript of the hearing, which appears in Exhibit
             2      8.2
             3               b.     At the hearing, the Special Master
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           11                In response, Plaintiffs conceded that privilege                             of the
           12       documents. Ex. 8 at 16; see also id. at 38. When the Special Master asked the natural
           13       follow-on question
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                     Apple designated the transcript “Highly Confidential” as Plaintiffs assert the hearing
           26       was not transcribed in part “
                    Decl. ¶ 4. This is the first time Plaintiffs have made this assertion.
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             3            The Special Master also asked Plaintiffs whether there is
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             9            At the conclusion of the hearing, Apple once again highlighted the lack of
           10       evidentiary support for Plaintiff’s assertion of privilege. Ex. 8 at 41-42. As Apple’s
           11       counsel explained:
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           14
           15                    3. The Special Master Orders In Camera Review And Plaintiffs Yet Again
           16                       Do Not Provide Any Evidentiary Support For Their Privilege Claims
           17             On October 14, 2022, the Special Master ordered Plaintiffs to submit the four
           18       clawed-back documents for in camera review. The Special Master noted both that (1)
           19       “Plaintiffs’ opposition essentially argues that Plaintiffs’ privilege log entries are
           20       sufficient, and does not present any other evidence (for example, an attorney
           21       declaration) to support their position,” and (2) “Defendants challenged the lack of
           22       evidence in the opposition itself.” Ex. A-1 at 6-7. The Special Master concluded that
           23       “[a]lthough Plaintiffs request an opportunity to now submit additional evidence in
           24       support of their claim, the Special Master finds only that in camera production of
           25       copies of the documents themselves is warranted at this time.” Id. at 7. Accordingly,
           26       the Special Master stated that he would “rely on the information already in the record
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             1      through statements in briefs and at oral argument in evaluating Plaintiffs’ privilege
             2      claims.” Id.
             3            Following the Special Master’s decision to conduct in camera review, Plaintiffs
             4      did not seek leave to submit additional evidence supporting their assertions of privilege
             5      or file an objection with this Court challenging the ruling. Instead, Plaintiffs waited
             6      until after the Special Master had conducted the in camera review—and ruled against
             7      Plaintiffs—before questioning the manner in which the Special Master should conduct
             8      that review.
             9                     4. The Special Master Grants Apple’s Request For Production Based On
           10                        The “Arguments And Evidence Timely Presented”
           11             On October 24, 2022, the Special Master held that “[b]ased on a review of the
           12       documents as well as the arguments and evidence timely presented,” Plaintiffs had not
           13       met their burden to establish that the four clawed back documents were privileged. Ex.
           14       A-2 at 2. Specifically, the Special Master reasoned that
           15
           16                                                                           Id. Here, the Special
           17       Master found,
           18
           19                                   Id. The Special Master accordingly ordered Plaintiffs “to
           20       produce the four documents in dispute.” Id.
           21             C.       Plaintiffs Wait Until Two Business Days Before Their Objections Are
           22                      Due To Raise A Wide Variety Of Issues
           23             Late in the evening on Thursday, November 3, Plaintiffs sent Apple a lengthy
           24       email raising a number of last-minute procedural issues regarding the instant motion.
           25       See generally Ex. A-8. As particularly relevant here, Plaintiffs’ counsel asked Apple
           26       to agree that Plaintiffs could “
           27
           28
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             1                   Ex. A-8 at 64. Apple objected, explaining that it was inappropriate to
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             4                      Id. at 63.
             5            Plaintiffs also stated that they would produce at least the 2018 email if Apple
             6      would agree that                                            Ex. A-8 at 62; see also Ex. 9.
             7      Apple informed Plaintiffs that
             8                                                                         Ex. 9. While
             9      Plaintiffs did not respond to Apple, their November 7, 2022 opening brief states that
           10       “[t]he email is no longer at issue” and incorrectly asserts that “Masimo produced it.”
           11       Mot. 1 n.1.
           12             Plaintiffs did not actually produce the email until 4:30pm PT on Friday,
           13       November 11—a federal holiday. Passamneck Decl. ¶ 4. The email that Plaintiffs
           14       fought tooth and nail to avoid producing contains no indicia remotely supporting a
           15       privilege claim. It is a brief conversation between
           16       indicating
           17                                                              Ex. 10.
           18                                          III.   ARGUMENT
           19             A.       Plaintiffs Have Not Met Their Burden To Establish Attorney-Client
           20                      Privilege Based On The Record In Front Of The Special Master
           21             The Special Master rightly found that Plaintiffs had not shown that the three
           22       clawed-back presentations are protected by attorney-client privilege. See A-2 at 2.
           23             The scope of the attorney-client privilege is “narrowly construed” and the party
           24       asserting privilege has “the burden of establishing the relationship and the privileged
           25       nature of the communication.” United States v. Ruehle, 583 F.3d 600, 607 (9th Cir.
           26       2009). Where a document appears to be for a business purpose, a court “should sustain
           27       an assertion of privilege only when there is a clear evidentiary predicate for concluding
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             1      that each communication in question was made primarily for the purpose of generating
             2      legal advice.” McCaugherty v. Siffermann, 132 F.R.D. 234, 238 (N.D. Cal. 1990). In
             3      other words, “[n]o privilege can attach to any communication … that would have been
             4      made because of a business purpose, even if there had been no perceived additional
             5      interest in securing legal advice.” Apple Inc. v. Samsung Elecs. Co., 306 F.R.D. 234,
             6      240-241 (N.D. Cal. 2015).
             7             Here, the Special Master correctly concluded that there was
             8
             9                                                                              A-2 at 2. As
           10       Apple explained below,
           11                                                                                          and
           12       Plaintiffs failed to present any contrary evidence that “each communication in question
           13       was made primarily for the purpose of generating legal advice.” McCaugherty, 132
           14       F.R.D. at 238. To the contrary,
           15
           16
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           19                                     Ex. 8 at 16. Moreover, Plaintiffs’ privilege log did not
           20       list                                                , supra pp. 2-3, and Plaintiffs did not
           21       submit a single declaration in support of their privilege assertion—even though “[a]
           22       cursory review of the case law demonstrates that attorney declarations generally are
           23       necessary to support the designating party’s position in a dispute about attorney-client
           24       privilege,” Dolby Labs. Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 865 (N.D.
           25       Cal. 2019). Finally, even if Plaintiffs had put their “vague” assertions of privilege into
           26       a declaration, that would not have been enough to show attorney-client privilege.
           27       Hynix Semiconductor Inc v. Rambus Inc., 2008 WL 350641, at *3 (N.D. Cal. Feb. 2,
           28
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             1      2008) (presentation that included “a discussion of a business plan and strategy that …
             2      may have taken into account advice [regarding company’s] legal positions” not
             3      protected); see also Datel Holdings Ltd. v. Microsoft Corp., 2011 WL 866993, at *6
             4      (N.D. Cal. Mar. 11, 2011) (citing same legal principle); Dolby Labs. Licensing Corp. v.
             5      Adobe Inc., 402 F. Supp. 3d 855, 863 (N.D. Cal. 2019) (same).
             6               Plaintiffs do not seriously argue that the Special Master’s ruling was incorrect
             7      based on the evidence in front of him. At most, Plaintiffs suggest that the Special
             8      Master erred by not considering counsel’s representations made during the October 3,
             9      2022 hearing—i.e.,
           10
           11       See Mot. 7-8; Ex. 8 at 15. But the Special Master did expressly consider Plaintiffs’
           12       statements at the hearing and apparently found them lacking. See Ex. A-2 at 2 (Special
           13       Master based his decision “                                                          ); id. at
           14       1-2 (Special Master noting that his decision
           15                                                                     see also Mot. 8 (Plaintiffs
           16       conceding that the Special Master stated “he would review the information provided at
           17       the hearing”). That the Special Master was unconvinced by Plaintiffs’ underwhelming
           18       arguments is no reason to disturb the decision below.3
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           25       3
                      Plaintiffs suggest that the Special Master’s review “may have been impeded by the
           26       lack of a written transcript to review.” Mot. 8. But Plaintiffs identify nothing in the
                    opinion that supports this assertion and, in any event, the Special Master retained a
           27       video recording of the hearing that could have been consulted with no more difficulty
                    than a transcript. See supra pp. 4-5.
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             1               B.     Plaintiffs Should Not Be Permitted To Present New Evidence And
             2                      Arguments But, Regardless, Still Cannot Meet Their Burden
             3                      1.    Plaintiffs Should Not Be Permitted To Present New Evidence
             4                            And Arguments
             5               Plaintiffs’ objections rest on two pillars: (1) (somewhat) more detailed
             6      arguments for why the attorney-client privilege applies and (2) new supporting
             7      declarations from Knobbe attorney Jarom Kesler and Plaintiffs’ employee Valery
             8      Telfort. Mot. 5-7. Plaintiffs provide no persuasive justification for why they failed to
             9      press either these arguments or this evidence in front of the Special Master. This Court
           10       should accordingly decline to consider them.4
           11                As the Ninth Circuit has observed, it is “fundamentally unfair to permit a litigant
           12       to set its case in motion before the magistrate, wait to see which way the wind was
           13       blowing, and—having received an unfavorable recommendation—shift gears before
           14       the district judge.” United States v. Howell, 231 F.3d 615, 622 (9th Cir. 2000)
           15       (quotations omitted). What’s more, “[i]f the Court considers evidence that was not
           16       before the Special Master, it loses the benefit of the Special Master’s expertise, and it
           17       opens the process to the submission of an unlimited number of additional documents.”
           18       In re: Cathode Ray Tube (Crt) Antitrust Litig., 2016 WL 945981, at *2 (N.D. Cal. Mar.
           19       14, 2016).
           20                A district court is accordingly “not required[]” to consider new evidence or
           21       arguments that were not presented in front of a special master or magistrate judge.
           22       Howell, 231 F.3d at 621 (evidence); Brown v. Roe, 279 F.3d 742, 746 (9th Cir. 2002)
           23       (arguments); see also Cathode Ray, 2016 WL 945981, at *2 (no new information rule
           24
           25       4
                     Plaintiffs have also switc       positions from their briefing in front of the Special
           26       Master regarding why the           presentations are privileged.
           27
           28
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             1      applies equally to magistrate judges and special masters). In particular, courts
             2      routinely refuse to consider new evidence or arguments when the moving party fails to
             3      provide a good explanation for why those points were not raised below in the first
             4      instance. See, e.g., Brook v. McCormley, 837 F. App’x 433, 436 (9th Cir. 2020);
             5      Mwasi v. Montoya, 2021 WL 515816, at *1 (C.D. Cal. Feb. 10, 2021). This Court
             6      itself recently declined to “entertain[] new … arguments [raised by Plaintiffs] for the
             7      first time” in front of this Court. Dkt. 748 at 3-4.
             8            Here, Plaintiffs have provided no explanation for why they failed to raise their
             9      new arguments—and the declarations of Mr. Kesler and Mr. Telfort—in their initial
           10       opposition to Apple’s motion to compel. For example, Plaintiffs do not contend that
           11       they were unable to contact Mr. Kesler (who works for the same law firm as Plaintiffs’
           12       trial counsel) or Mr. Telfort (an employee of Plaintiffs). Nor do Plaintiffs contend that
           13       some intervening circumstances prevented Mr. Kesler or Mr. Telfort from providing
           14       declarations (nor should they be permitted to do so for the first time on reply). To the
           15       contrary, Plaintiffs appear to have done precisely what the Ninth Circuit has warned
           16       against—treating the briefing as a “mere dress rehears[al” for their actual argument in
           17       front of this Court. Howell, 231 F.3d at 622.
           18             Plaintiffs instead blame the Special Master, arguing that he should have
           19       instructed Plaintiffs to provide additional evidence and argument after concluding that
           20       Plaintiffs’ “timely presented” materials were insufficient. Mot. at 7-8; see also Ex. A-
           21       2 at 2. But again, nothing was stopping Plaintiffs from providing a full account of
           22       their privilege arguments in their briefing. To be sure, Plaintiffs now argue that “[t]he
           23       referral order to the Special Master did not mention the possibility of in camera
           24       submission of declarations.” Mot. 7. Plaintiffs did not, however, question the Special
           25       Master’s ability to consider the three clawed-back presentations themselves in camera,
           26       Ex. A-5 at 5, and they fail to explain why declarations would be treated any
           27
           28
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             1      differently. In any event, Plaintiffs could have raised that question with the Special
             2      Master in the first instance by, for example, moving for leave to file such declarations.
             3            Plaintiffs relatedly argue that the statement in the Special Master’s October 14,
             4      2022 order that he would not consider any additional evidence “‘at this time’”
             5      dissuaded Plaintiffs from filing supplemental declarations. Mot. 7. At a minimum,
             6      judicial efficiency suggests that if Plaintiffs had concerns about the review process, the
             7      time to raise those concerns was before the review occurred, and not afterwards.
             8      Plaintiffs could have at least attempted to submit such evidence at least two points
             9      prior to October 14—in connection with their briefing or after receiving the Special
           10       Master’s tentative ruling. Moreover, if Plaintiffs had any concerns with that aspect of
           11       the Special Master’s October 14 ruling, they could have raised it directly with this
           12       Court. To paraphrase their own brief, because they did not “object to the Special
           13       Master’s finding” that no further evidence should be submitted, “that finding is now
           14       final.” Mot. 2.
           15                    2.     Even If Plaintiffs’ New Material Is Considered, The Special
           16                           Master’s Ruling Should Not Be Disturbed
           17             To the extent that this Court considers the new arguments and evidence
           18       implicated by Mr. Kesler’s and Mr. Telfort’s declarations, Plaintiffs still have not met
           19       their burden to show privilege—or even that another round of in camera review is
           20       warranted.
           21             As a threshold matter, the mere fact that Plaintiffs have now belatedly submitted
           22       declarations asserting privilege does not necessarily alter the privilege analysis. As
           23       various courts have explained, a vaguely worded declaration does not justify a
           24       privilege claim. See supra pp. 9-10 (citing Hynix, Dolby, and Datel). Here, the new
           25       details and arguments contained within the declarations do not move the needle.
           26             Specifically, Plaintiffs now place heavy weight on the fact that some pages of
           27       the three presentations list specific patents about which Plaintiffs sought legal advice.
           28
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             1      Mot. 5, 6. But Plaintiffs’ assertion (at 5, 6) that “pages discussing specific patents
             2      present particularly strong arguments” in support of privilege is not supported by the
             3      two cases they cite. Lewis v. Wells Fargo & Co., 266 F.R.D. 433 (N.D. Cal. 2010), for
             4      example, did not even involve patents—it addressed internal Wells Fargo audits meant
             5      to determine whether Wells Fargo was complying with state and federal labor law, id.
             6      at 435. Those audits are a far cry from the presentations in this case,
             7                                                                      apart from any additional
             8      legal purpose. Compare id. at 445 with supra pp. 2-3.5
             9               Although Polaris Innovations Ltd. v. Kingston Technology Co., Inc. at least
           10       involved patents, the facts of that case are dissimilar from this one, see 2017 WL
           11       8220457 (C.D. Cal. June 16, 2017). There, the party asserting privilege had provided a
           12       detailed privilege log identifying the specific “legal purpose” for the underlying
           13       documents. See id. at *6 (noting that the log identified “legal issues such as royalty
           14       analysis, patent damages, damages for breach of contract, and patent infringement”).
           15       In contrast, Plaintiffs’ log (and the non-redacted portions of their declarations)
           16       generally
           17                                                                                 See supra pp. 2-3.
           18                Plaintiffs also argue that
           19                                                                           . Mot. 6. Plaintiffs
           20       have never before raised this argument, and Apple has no way of verifying it.
           21                                                                                     “simply
           22       labeling a document as privileged does not make it so.” Phoenix Techs. Ltd. v.
           23       VMware, Inc., 195 F. Supp. 3d 1096, 1104 n.7 (N.D. Cal. 2016); accord Calendar
           24       Research LLC v. StubHub, Inc., 2019 WL 11558873, at *2 (C.D. Cal. July 25, 2019);
           25
           26       5
                      Plaintiffs (at 5) mistakenly attribute the quote “were intended and then used for a
           27       legal purpose” to Lewis. The quote actually comes from Plaintiffs’ other case (Polaris
                    Innovations).
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             1      see also Allianz Glob. Invs. GmbH v. Bank of Am. Corp., 2022 WL 2381160, at *3
             2      (S.D.N.Y. July 1, 2022) (finding that a “Privileged and Confidential” legend did “not
             3      provide circumstantial evidence that … the content[] of the document” was intended to
             4      be privileged). Put slightly differently, Plaintiffs cannot
             5                                                                     Ex. 8 at 21-22. Attorney-
             6      client privilege protects “‘freedom of expression,’” not an attorney’s ability “‘to
             7      conduct his client’s business affairs in secret.’” Calendar Research, 2019 WL
             8      11558873, at *2.
             9                                       IV.    CONCLUSION
           10             Apple respectfully requests that the Court overrule Plaintiffs’ objections to the
           11       Special Master Order Dated October 24, 2022, including Plaintiffs’ request to submit
           12       additional materials for in camera review.
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             1      Dated: November 14, 2022               Respectfully submitted,
             2
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